PROB35                                                                          Report and Order Terminating Supervision
(Reg 3/93)                                                                               Prior to Original Expiration Date



                            UNITED STATES DISTRICT COURT
                                         FOR THE
                           EASTERN DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA

                     v.                                        Crim. No. 7:08-CR-114-lD

CRAIG HOBBS

        On March 22, 2019, the above named was released from prison and commenced a term of supervised
release for a period of 60 months. The offender has complied with the rules and regulations of supervised
release and is no longer in need of supervision. It is accordingly recommended that the offender be
discharged from supervision.

                                                       I declare under penalty of perjury that the foregoing
                                                       is true and correct.


                                                       Isl Timothy L. Gupton
                                                       Timothy L. Gupton
                                                       Senior U.S. Probation Officer
                                                       310 New Bern A venue, Room 610
                                                       Raleigh, NC 27601-1441
                                                       Phone: 919-861-8686
                                                       Executed On: October 28, 2021


                                          ORDER OF COURT

       Pursuant to the above report, it is ordered that the offender be discharged from supervision and that
the proceedings in the case be terminated.

             Dated this_~(_ _ day of No\le    ub.u..            ,2021.




                 Case 7:08-cr-00114-D Document 36 Filed 11/01/21 Page 1 of 1
